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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


       IN RE: ZANTAC (RANITIDINE)                                                     MDL No. 2924
       PRODUCTS LIABILITY                                                              20-MD-2924
       LITIGATION
                                                           JUDGE ROBIN L. ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE E. REINHART

                                              /

       THIS DOCUMENT RELATES TO:

       Campion v. GlaxoSmithKline LLC, et al., No. 24-cv-80265 (S.D. Fla.).
       Cusick v. GlaxoSmithKline LLC, et al., No. 24-cv-80271 (S.D. Fla.).
       Rascento v. GlaxoSmithKline LLC, et al., No. 24-cv-80264 (S.D. Fla.).
       Rounds v. GlaxoSmithKline LLC, et al., No. 24-cv-80266 (S.D. Fla.).

          STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE
                    FOR PLAINTIFFS’ MOTION TO REMAND IN CAMPION,
                            CUSICK, RASCENTO, AND ROUNDS

              WHEREAS, on February 16, 2024, the Brand Defendants1 filed a Notice of Removal in

       Campion v. GlaxoSmithKline LLC, et al., No. 1:24-cv-00214 (D. Del.) (Dkt. 1).

              WHEREAS, on February 16, 2024, the Brand Defendants2 filed a Notice of Removal in

       Cusick v. GlaxoSmithKline LLC, et al., No. 1:24-cv-00215 (D. Del.) (Dkt. 1).

              WHEREAS, on February 16, 2024, the Brand Defendants3 filed a Notice of Removal in

       Rascento v. GlaxoSmithKline LLC, et al., No. 1:24-cv-00211 (D. Del.) (Dkt. 1).




   1
     GlaxoSmithKline LLC, Pfizer Inc., Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer
   Ingelheim USA Corporation, Sanofi-Aventis U.S. LLC, Sanofi US Services Inc., and Patheon
   Manufacturing Services.
   2
     GlaxoSmithKline LLC, Pfizer Inc., Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer
   Ingelheim USA Corporation, Sanofi-Aventis U.S. LLC, Sanofi US Services Inc., and Patheon
   Manufacturing Services.
   3
     GlaxoSmithKline LLC, GlaxoSmithKline Holdings (Americas) Inc., and Pfizer Inc.
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              WHEREAS, on February 16, 2024, the Brand Defendants4 filed a Notice of Removal in

       Rounds v. GlaxoSmithKline LLC, et al., No. 1:24-cv-00217 (D. Del.) (Dkt. 1).

             WHEREAS, on February 20, 2024, the Brand Defendants filed a notice of potential tag-

   along actions with the Judicial Panel on Multidistrict Litigation (“JPML”), identifying Campion,

   Cusack, Rascento, and Rounds as related to the claims in the In re Zantac/ranitidine Products

   Liability Litigation multidistrict litigation pending before this Court. MDL No. 2924 at Dkt. 1415

   (J.P.M.L.).

             WHEREAS, on February 27, 2024, the JPML issued Conditional Transfer Order 123

   (“CTO-123”), conditionally transferring the Campion, Cusack, Rascento, and Rounds cases to the

   MDL proceedings in this Court. MDL No. 2924 at Dkt. 1419 (J.P.M.L.).

             WHEREAS, on March 6, 2024, the JPML issued its Order transferring the four cases to

   the MDL proceedings before this Court. MDL No. 2924 at Dkt. 1423 (J.P.M.L.).

             WHEREAS, on March 8, 2024, the above-referenced cases were transferred to the MDL

   proceedings before this Court. Dkt. 7239, 7240, 7241, 7242.

             WHEREAS, the basis of the Brand Defendants’ removal of the above-referenced cases

   from Delaware state court is that the Plaintiffs are Certified Federal Participants pursuant to

   Pretrial Order 72 and are required to file their claims in federal court. Plaintiffs dispute their status

   as Certified Federal Participants and intend to move to remand their cases back to Delaware state

   court on that basis. The parties have agreed to transfer of the above-referenced actions to this

   Court in order that the Court may resolve the dispute as provided for in Pretrial Order 72. See Dkt.

   5348 at 4.



   4
     GlaxoSmithKline LLC, Pfizer Inc., Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer
   Ingelheim USA Corporation, Sanofi-Aventis U.S. LLC, Sanofi US Services Inc., and Patheon
   Manufacturing Services.
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          WHEREAS, in the Delaware state court litigation, there are several hundred additional

   plaintiffs that Defendants have identified as potential Certified Federal Participants and who also

   re-filed claims in Delaware state court. The parties are working to finalize the list of disputed

   Certified Federal Plaintiffs with actions currently pending in Delaware state court. In the interim,

   the parties have agreed that the above-referenced cases will serve as “exemplar” cases so that the

   parties have the benefit of this Court’s rulings as they work in good faith to resolve those disputes.

            IT IS HEREBY STIPULATED, upon agreement of the parties, by and through their

    undersigned counsel, that:

          1.      The Brand Defendants do not oppose plaintiffs’ leave to file a consolidated remand

   motion the above-referenced cases.

          2.      Pursuant to Pretrial Order 24, Plaintiffs shall file unopposed motions for leave to

   file their motions to remand with their motions to remand; however, the motions to remand will

   be deemed filed as of the date that the motions for leave are filed.

          3.      Plaintiffs will file their consolidated motion for remand on or before April 9, 2024;

   Brand Defendants will file their consolidated joint opposition to Plaintiffs’ consolidated motion to

   remand by April 23, 2024; Plaintiffs’ will file any reply in support of the consolidated motion to

   remand by April 30, 2024.

          4.      The consolidated motion and consolidated opposition shall not exceed thirty (30)

   pages. The consolidated reply shall not exceed ten (10) pages.

   Dated: March 19, 2024                                    /s/ R. Brent Wisner
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   Dated: March 19, 2024                      /s/ Anand Agneshwar
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   Dated: March 19, 2024                      /s/ Andrew T. Bayman
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   Dated: March 19, 2024                     /s/ Mark Cheffo
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   Dated: March 19, 2024                      /s/ Joseph Petrosinelli
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                                                           Attorney for Defendant Pfizer Inc.


   IT IS SO ORDERED.


   Dated: March 19, 2024
                                                         JUDGE ROBIN L. ROSENBERG




                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 19th day of March, 2024, the foregoing was filed electronically

    through the Court’s CM/ECF system, which will send notice of filing to all CM/ECF participants.


                                                /s/ R. Brent Wisner
                                                     R. Brent Wisner, Esq.




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